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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 MARILYN HERNANDEZ, individually and
 on behalf of all others similarly situated,
                                                  Case No. 1:23-cv-00413-LKG
           Plaintiff,
                                                   Dated: May 12, 2023
 v.

 BPS DIRECT, L.L.C. d/b/a BASS PRO
 SHOPS,

           Defendant.

                                            ORDER

       Plaintiff has moved for an extension to file her response in opposition to Defendant’s

Motion and Memorandum in Support of its Motion to Dismiss Plaintiff’s Class Action

Complaint (ECF No. 13 and 13-1), until after the June 14, 2023 pre-motion conference, and

the resolution of the underlying Motion to Stay Proceedings pending action by the Judicial

Panel on Multidistrict Litigation (ECF No. 12).

       Accordingly, it is hereby ORDERED that:

            1. The Plaintiff’s consented motion for an extension of time is GRANTED.

      Plaintiff’s response in opposition to Defendant’s Motion and Memorandum in Support

of its Motion to Dismiss Plaintiff’s Class Action Complaint (ECF No. 13 and 13-1), is

extended until after the June 14, 2023 pre-motion conference, and the resolution of the underlying

Motion to Stay Proceedings pending action by the Judicial Panel on Multidistrict Litigation (ECF

No. 12).

                               /s/ Lydia Kay Griggsby
                              The Honorable Lydia Kay Griggsby
                              Judge, United States District Court for the District of Maryland
